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                            EXHIBIT

                                  A
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From:                   Tom Howley
Sent:                 Tuesday, December 12, 2017 8:53 AM CST
To:                    'gary_chien'; 'Simon Shih'; 'Ivan'
CC:                       'jenny_chiu'
Subject:               RE: [RR8000] Painting Hardness improve of Chassis of Aluminum Alloy


Ok..

Understand

Please send

From: gary_chien [mailto:gary_chien@lannerinc.com]
Sent: Tuesday, December 12, 2017 4:43 AM
To: 'Tom Howley' <tom_howley@lannerinc.com>; 'Simon Shih' <simon_shih@lannerinc.com>; 'Ivan' <ivan_fan@lannerinc.com>
Cc: 'jenny_chiu' <jenny_chiu@lannerinc.com>
Subject: RE: [RR8000] Painting Hardness improve of Chassis of Aluminum Alloy

Hi Tom,

Simon is talking about the RR8000 not LVC-5000-SV2 sample.
In previous, SV asks having higher hardness of painting on RR8000 and that’s why Simon making a colour template for re-
confirmation.
Please forward the template to SV once received.

yours,
Gary
Skype: gary10021


From: Tom Howley [mailto:tom_howley@lannerinc.com]
Sent: Monday, December 11, 2017 10:28 PM
To: 'Simon Shih'; 'Ivan'
Cc: 'gary_chien'; 'jenny_chiu'
Subject: RE: [RR8000] Painting Hardness improve of Chassis of Aluminum Alloy

Hi Simon,

This is just for a mock up sample..

Please go forward and consult Gary for color match to RR-8000

Regards,

Tom
                   Case 4:21-cv-03306 Document 13-1 Filed on 07/10/23 in TXSD Page 3 of 9




From: Simon Shih [mailto:simon_shih@lannerinc.com]
Sent: Monday, December 11, 2017 3:50 AM

To: 'Tom Howley' <tom_howley@lannerinc.com>; 'Ivan' <ivan_fan@lannerinc.com>
Cc: 'gary_chien' <gary_chien@lannerinc.com>; 'jenny_chiu' <jenny_chiu@lannerinc.com>
Subject: RE: [RR8000] Painting Hardness improve of Chassis of Aluminum Alloy

Hi, Ivan and Tom,
I’ll forward 2 pcs of painting sample to you and please help send them to SV for chosen and
approval. 1 is painting with 485c and texture and another is painting with 485c, texture and sand
blasting.

--
regards,
Simon
Shih
Product Management Department
II Product Center
Lanner Electronics Inc.
7F, No.173, Sec.2, Datong Rd., Xizhi District, New Taipei City 221, Taiwan
+886 2 86926060 ext 1115
www.lannerinc.com

From: gary_chien [mailto:gary_chien@lannerinc.com]
Sent: Monday, October 30, 2017 10:09 AM
To: 'Simon Shih'; 'Tom Howley'
Subject: RE: [RR8000] Painting Hardness improve of Chassis of Aluminum Alloy

Hi Simon,

You need to provide the cost difference to me and sample of painting improvement send to SV/ Tom for double
checking, not a good idea to confirm via picture.
I cannot tell the difference from the picture showing.
                   Case 4:21-cv-03306 Document 13-1 Filed on 07/10/23 in TXSD Page 4 of 9




yours,
Gary
Skype: gary10021


From: Simon Shih [mailto:simon_shih@lannerinc.com]
Sent: Monday, October 30, 2017 10:00 AM
To: 'Tom Howley'
Cc: 'gary_chien'
Subject: [RR8000] Painting Hardness improve of Chassis of Aluminum Alloy

Hi, Tom,
Please find the attachment for the chassis painting hardness improvement sample and reply which sample color is ok ASAP.
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Product
Management
Department II
Product Center
Lanner Electronics Inc.
7F, No.173, Sec.2, Datong Rd., Xizhi District, New Taipei City 221, Taiwan
+886 2 86926060 ext 1115
www.lannerinc.com


    From:              Louie Ramirez
    Sent:             Friday, August 3, 2018 1:15 PM CDT
    To:               jason_lee@lannerinc.com
    Subject:            Safety Vision RMA Request


    Hello,

    RMA180094 is RMA# for this requested. Kindly return the failed units/parts to:

    LEI Technology Canada Ltd.
    RMA Department
    3160A Orlando Drive
    Mississauga Ontario
    Canada L4V 1R5

    RMA unit: RR8000 s/n:???

    RMA number must be clearly identified and visible on the outside of the box.
    Please print out and include this RMA request in the return package.
    LEI Technology Canada Ltd is not responsible for any lost or damaged product due to insufficient
    packaging and will not be responsible for any damage or lost part during shipping due to improper
    customer packaging.
    NOTICE:
    All RMA numbers are valid for thirty (30) days from the date of issuance. It is the responsibility of the
    customer to ensure the material is returned within this time frame. Any RMA returned without an RMA number
    will be rejected by our RMA department.
     Case 4:21-cv-03306 Document 13-1 Filed on 07/10/23 in TXSD Page 6 of 9

Regards,
Louie Ramirez
RMA Dept. / LEI Technology Canada Ltd.
http://www.lannerinc.com
Toll Free: 1 877-813-2132 ext 130
Email: louie_ramirez@lannerinc.com
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  From:                                  jimmy_su
  Sent:                               Wednesday, January 8, 2020 10:54 PM CST
  To:                                      'daren khatib'
  CC:                               'geoffrey egger'; 'Sam_Lee'; 'rex_wu'; 'scott_chang'; 'jones_chung'; 'jamesph_chen'
  Subject:                         FW: identifying scenario of 8000 PSU CONVERSION
  Attachments:                    RR8000 Power Reliability Assurance Test Report 20200109.pdf, SalemTransit_Lanner.pdf, solution.png, RR8000 Power Reliability Assurance Test Report 20200109.d


  Dear Daren,

  In case if you like to have a modification the description on report items, I attached the doc file to you for

  reference! B,R,
                                                                                                                                                 Jimmy
  From: jimmy_su [mailto:jimmy_su@lannerinc.com]
  Sent: Thursday, January 09, 2020 12:43 PM
  To: 'daren khatib'; 'gary chien'; 'ben_chen'; 'chester_chung'; 'spencer_chou'; 'tony_ghchen'; 'watson_lee'; '!"#'; 'I-Ling CHEN'; 'Sam_Lee'; 'Tom Howley'; 'dea
  'peter nam'; 'vince_leu'
  Subject: RE: identifying scenario of 8000 PSU CONVERSION

  Dear Daren,

  Thanks for your efforts to get those useful information, it is very helpful that let us clear on layouts, pin definition and distribution situation of powe
  consumption, Now we get the whole picture for SV field-side installing. But, S.V still do not provide the PSU datasheet to us, anyway;.

  Lanner RD team have done some validated tests to double check the power SPEC. of RR 8000 last week.
  During the period on customer’s holidays, we strictly test the maximum loading on 12V, 48V inputs and 24V on
  relay-by-pass. We also check the relay control circuit, lowest boot up voltage and inrush current condition when relay
  on/off …etc.
  You can refer to enclosed report: “RR8000 Power Reliability Assurance Test Report 20200109.pdf “, Lanner absolutely believe RR-8000 meets it’s


  Regarding the why S.V emphasize that RR8000 must be added a “24V-12V DC Convertor” and a “24V DC Relay” for stability on filed-side applica
  Lanner believed it is a power consumption distribution issue; In the “Salem Transit lanner.pdf” case, you can see~

l 7 PoE cameras(25.5W+13W) connect to RR8000-NVR/128POE board(10W) and 8000-PWR-SUPPLY, its PoE 48V/24V source from "MAIN" pin on
    with vehicle battery power
l LTE/GPS/WIFI SV-IPBR900LP6(20.25W) connect to RR8000-NVR/relay-by-pass and 8000-PWR-SUPPLY, 24V source from "MAIN" pin on “SV PS
    vehicle battery power
l 5 PoE cameras(9W+19.5W) connect to SV-SWITCH-8( 9.8W) and extra 24V RELAY, its PoE 48V/24V source from vehicle battery power directly.
l SV remains RR8000-NVR
                   Case (50W) only connectDocument
                         4:21-cv-03306     to SV 24VDC Convertor
                                                     13-1        to 07/10/23
                                                          Filed on  “LOAD” pin
                                                                             in of UPS forPage
                                                                                TXSD       15min
                                                                                               8 shutdown
                                                                                                 of 9     delay and system grateful shu

  You can have a simple calculation, once SV connect 8000-PWR-SUPPLY to “LOAD” pin of “SV PSU” alone, there is a total 160W power requireme
  devices, A 160W power transition is not a problem by 8000-PWR-SUPPLY adapter , but the 160W power need to keep for 15min delay and 2min s
  shutdown,
  If S.V would like to have a stabilized in such kind of system application, Lanner will recommend to equip a UPS which inside battery capacity is ove
  The Solution recommendation from Lanner for “Salem Transit” case;

  In fact, SV engineer have cleverly changed the power source by a extra 24 Relay and 48V/PoE output of 8000-PWR-SUPPLY to vehicle battery po

  They just need to take advantage of RR8000 wide voltage input (9~36V) to connect “LOAD” pin on SV UPS to DC_IN(+/-)
  on RR8000-NVR. No need a extra 24 /12V power convertor for application.




  Have a
  nice
  day!
  Jimmy
From: daren khatib [mailto:daren_khatib@lannerinc.com]
Sent: Monday, January 06, 2020 9:02 PM
                       Case 4:21-cv-03306 Document 13-1 Filed on 07/10/23 in TXSD Page 9 of 9
To: $%&; gary chien; ben_chen; chester_chung; spencer_chou; tony_ghchen; watson_lee; !"#; I-Ling CHEN; Sam_Lee; Tom Howley; dean mcarthur; geoffre
Subject: Fwd: identifying scenario of 8000 PSU CONVERSION


Hi everyone,

Please find Safety Visions responses below in this font. along with their URL to the updated files.

Thanks,

Daren
